                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                          Case No. 19-cr-255

        v.
                                                   The Honorable Tanya S. Chutkan
FREDERICK GOODING,

                      Defendant.



                                   [PROPOSED] ORDER

        Upon consideration of Defendant’s Motion to Continue Trial, and any opposition or reply

thereto, the Court hereby GRANTS the motion. It is ORDERED that

        1. Trial is continued/advanced from October 31, 2022 to                 .



        SO ORDERED.



Date:


                                                          HON. TANYA S. CHUTKAN
                                                          United States District Judge,
                                                          District of Columbia
